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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                   ORDER

                                                                   05-CR-6062L

                      v.

CARLOS TORRES,


                              Defendant.
________________________________________________




       Defendant Carlos Torres (“Torres”) was allowed to voluntarily surrender on a sentence

previously imposed by this Court, and he has received notification from the Bureau of Prisons that

he is to report to commence service of the remaining portion of his sentence on July 6, 2012.

       It is hereby

       ORDERED that the Bureau of Prisons vacate and suspend the designation date for thirty (30)

days until August 6, 2012, at the request of both the Government and defense counsel.

       IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge
Dated: Rochester, New York
       July 2, 2012.
